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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL PROTECTION                              )
BUREAU,                                                    )
                                                           )
                                Plaintiff,                 )
                                                           )
                v.                                         )     C.A. No. 17-1323-MN
                                                           )
THE NATIONAL COLLEGIATE MASTER
                                                           )
STUDENT LOAN TRUST; NATIONAL
                                                           )
COLLEGIATE STUDENT LOAN TRUST 2003-1;
                                                           )
NATIONAL COLLEGIATE STUDENT LOAN
                                                           )
TRUST 2004-1; NATIONAL COLLEGIATE
                                                           )
STUDENT LOAN TRUST 2005-1; NATIONAL
                                                           )
COLLEGIATE STUDENT LOAN TRUST 2005-2;
                                                           )
NATIONAL COLLEGIATE STUDENT LOAN
                                                           )
TRUST 2006-1; NATIONAL COLLEGIATE
                                                           )
STUDENT LOAN TRUST 2006-2; NATIONAL
                                                           )
COLLEGIATE STUDENT LOAN TRUST 2006-3;
                                                           )
NATIONAL COLLEGIATE STUDENT LOAN
                                                           )
TRUST 2006-4; NATIONAL COLLEGIATE
                                                           )
STUDENT LOAN TRUST 2007-1; NATIONAL
                                                           )
COLLEGIATE STUDENT LOAN TRUST 2007-2;
                                                           )
NATIONAL COLLEGIATE STUDENT LOAN
                                                           )
TRUST 2007-3; and NATIONAL COLLEGIATE
                                                           )
STUDENT LOAN TRUST 2007-4,
                                                           )
Delaware Statutory Trusts,
                                                           )
                                Defendants.                )

            BRIEF OF AMICUS CURIAE STRUCTURED FINANCE
  ASSOCIATION, INC. (F/K/A STRUCTURED FINANCE INDUSTRY GROUP, INC.)1




    1
      The Court approved the filing of this brief as a standalone filing. D.I. 81. After moving for leave
to file this brief as an amicus curiae, Structured Finance Industry Group, Inc. became the Structured
Finance Association, Inc. The brief is filed in its original form.
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Dated: November 21, 2017




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       The Structured Finance Industry Group (“SFIG”) is a member-based, trade industry

advocacy group focused on improving and strengthening the broader structured finance and

securitization market. SFIG respectfully moves for leave to file this brief as an amicus curiae, in

order to explain to the Court the harmful and destabilizing impact on the securitization industry

that would result from the approval of the Proposed Consent Judgment between Plaintiff

Consumer Financial Protection Bureau (the “Bureau”) and Defendants National Collegiate

Student Loan Trusts2 (together, the “Trusts”). SFIG has serious concerns that the Bureau is

exceeding its Congressional mandate and going beyond the limits of its statutorily granted

jurisdiction in connection with the Proposed Consent Judgment. This issue is critical to SFIG

and its members, which already are subject to complex regulation by multiple federal and state

agencies, and now confront the prospect of inconsistent and contradictory rule-making by a

regulator seeking to impose its own imprint on an already well-functioning and highly regulated

securitization market.

            STATEMENT OF INTEREST OF PROPOSED AMICUS CURIAE
                  STRUCTURED FINANCE INDUSTRY GROUP

       SFIG provides an inclusive network for securitization professionals to collaborate and, as

industry leaders, drive necessary changes, advocate for securitization industry participants, share

best practices and innovative ideas, and educate industry members through conferences and other

programs. Members of SFIG represent all sectors of the securitization market, including issuers,

investors, financial intermediaries, law firms, accounting firms, technology firms, rating

agencies, servicers, and trustees. Further information can be found at www.sfindustry.org.



2
  The Trusts are The National Collegiate Master Student Loan Trust (“NCLST”), NCLST 2003-
1, NCLST 2004-1, NCLST 2005-1, NCLST 2005-2, NCLST 2006-1, NCLST 2006-2, NCLST
2006-3, NCLST 2006-4, NCLST 2007-1, NCLST 2007-2, NCLST 2007-3, and NCLST 2007-4.
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       SFIG’s core charge is supporting a robust and liquid securitization market as an essential

source of efficient funding for the real economy. SFIG is uniquely positioned to address the

proper statutory scope of the Bureau’s enforcement and litigation activities as they relate to the

securitization industry. While SFIG’s members play diverse roles and have varying perspectives

on securitization transactions, they share a common interest in ensuring that the expectations of

market participants are not upended or frustrated by the Bureau’s sudden, unwarranted and

unlawful attempt to enlarge its authority, as it threatens to do via this action.

                                  SUMMARY OF ARGUMENT

       Before the Court are a Complaint and a Proposed Consent Judgment in which the Bureau

asserts that the conduct of the Trusts’ servicers constituted unfair, deceptive or abusive acts or

practices that violated the Consumer Financial Protection Act (the “CFPA” or the “Act”) in

connection with activities related to the collection of debt. The Proposed Judgment would hold

the Trusts responsible for its servicers’ debt collection activities. SFIG, as a proposed amicus

curiae, takes no position on the conduct of the servicers. Rather, SFIG, its members and

constituents are concerned that the underlying arguments fail to account for whether the Bureau

is empowered in the first place to exercise its authority against the Trusts with respect to the

activities at issue, and what impact such a finding would have on the reasonable expectations of

the market participants involved in securitizations.

       First, under the Act, the statute that defines the Bureau’s authority, the Bureau’s authority

extends to conduct engaged in by a “covered person,” or a covered person’s “service provider.”3



3
  12 U.S.C. § 5531(a). A “service provider” is defined as: “any person that provides a material
service to a covered person in connection with the offering or provision by such covered person
of a consumer financial product or service, including a person that (i) participates in designing,
operating, or maintaining the consumer financial product or service; or (ii) processes transactions
relating to the consumer financial product or service.” 12 U.S.C. § 5481(26) (emphasis added).


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The Trusts are not “covered persons” within the meaning of the CFPA because the Trusts—

which the Bureau concedes are passive entities with no employees—are not engaged in the core

conduct attributable to “covered persons,” namely offering or providing a consumer financial

product or service.

         Second, even if the Trusts were “covered persons” within the meaning of the Act, the

Bureau’s enforcement authority extends only to “covered persons” that have violated a federal

consumer protection law.4 Here, the Bureau implies that the Trusts vicariously violated the Fair

Debt Collection Practices Act (the “FDCPA”),5 and therefore the Act itself, but provides no

evidence of any actual violation by the Trusts. Accordingly, SFIG submits that the Bureau lacks

the statutory authority to file a complaint against or enter into a civil order with the Trusts. The

Bureau has adequate remedies in bringing claims against the parties who allegedly actually

conducted activities which violated the FDCPA and the Act. There is no justification for

expanding its authority to include passive entities that did not themselves engage in any such

activities.

         Third, SFIG’s members, and all market participants, rely on the stability of law to

anticipate their liabilities and risk, and enter into agreements that provide the building blocks for

the economy. The interests of SFIG’s members, as well as the interests of other similarly

situated market participants and, ultimately, the investors and borrowers themselves, will be


The definition expressly excludes “person[s] offering or providing to a covered person…a
support service…or a similar ministerial service.” Id. The Trusts are plainly not “service
provider[s].”
4
    12 U.S.C. § 5564(a).
5
  Congress enacted the FDCPA in order “to eliminate abusive debt collection practices by debt
collectors, to insure that those debt collectors who refrain from using abusive debt collection
practices are not competitively disadvantaged, and to promote consistent State action to protect
consumers against debt collection abuses.” 15 U.S.C. § 1692(e)(emphasis added); see generally
15 U.S.C. §§ 1601, et seq.


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harmed if the Bureau is permitted to extend its litigation and enforcement powers beyond its

legislative grant, thereby undermining this stability.     This extra-statutory enlargement will

disrupt the secondary loan market for many types of consumer and business loans, including

student loans, and also will create uncertainty and unwarranted potential liability for market

participants that justifiably relied on previously well-established regulation by known regulators.

The impact on the securitization market could result in increased interest rates and reduced

availability of credit, all to the detriment of borrowers and the overall economy.

       The Bureau has asserted that it “was designed to be agile and adjust its approach to

supervising the financial industry in order to respond rapidly to changing consumer needs.”6

This is an overstatement of the Bureau’s actual authority in light of its stated purpose and

objectives set forth by Congress in the Dodd-Frank Wall Street Reform and Consumer Protection

Act (the “Dodd-Frank Act”). Congress intentionally placed clear limits on which entities were

subject to the Bureau’s jurisdiction. In this action, the Bureau is not “adjusting its approach.” It

is improperly attempting to expand its jurisdiction through use of the courts. The statutes that

grant enforcement power to the Bureau give it neither enforcement nor litigation authority over

the Trusts.

                                          ARGUMENT

I.     THE TRUSTS ARE NOT “COVERED PERSONS” WITHIN THE MEANING OF
       THE CONSUMER FINANCIAL PROTECTION ACT AND TREATING THEM
       AS SUCH HAS SEVERE ADVERSE PUBLIC POLICY CONSEQUENCES

       The Bureau has statutory authority to commence an enforcement action against only a

“covered person,” as that term is defined by the CFPA, and may commence litigation against a

person only to the extent the person has violated a federal consumer protection law. Here, the


6
  CONSUMER FIN. PROT. BUREAU, CONSUMER FINANCIAL PROTECTION BUREAU STRATEGIC PLAN
(2013) at 9.


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Bureau relies on the conclusory allegation that the Trusts’ servicers acted as agents on behalf of

the Trusts to argue that the Trusts are “covered person[s].”7 However, the Bureau has not pled

facts sufficient to support the claim that the Trusts are “covered persons,” and in fact the

governing agreements and market expectations establish just the opposite. In particular, under

typical securitization transaction agreements, servicers are specifically identified as independent

contractors rather than as agents of the Trusts. Accordingly, at a minimum, the Proposed

Consent Judgment should not be granted without further fact finding, and SFIG respectfully

submits       that    the    parties    seeking       to   intervene   in   this    action     (the

“Intervenors”8) should be allowed to do so in order to place before the Court factual information

concerning the transactions at issue.

          As set forth below, this conclusion is compelled by both law and policy. As a matter of

law, the Trusts are not “covered persons,” did not take any of the actions challenged by the

Bureau, and did not engage in conduct that could be construed to violate a federal consumer

protection law. As a matter of policy, the healthy functioning of the securitization markets,

which is vital to the economy, would be disturbed if securitization trusts were to abruptly

become liable for the acts of servicers over whom they have no control, after decades of practice

to the contrary.




7
    Compl. ¶¶ 7-8. Proposed Consent J., D.I. 3 ¶ 4.
8
 The other parties to the underlying securitization who have sought to date to intervene in the
underlying proceedings are: U.S. Bank National Association, N.A. (“U.S. Bank National”), the
Objecting Noteholders (see D.I. 11 for a complete list of the objecting noteholder group),
Transworld System, Inc. (“Transworld”), Ambac Assurance Corporation (“Ambac”), GSS Data
Services, Inc. (“GSS”), Wilmington Trust Company (“WTC”), and Pennsylvania Higher
Education Assistance Agency d/b/a American Educational Services (“PHEAA”).

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II.    THE AFFAIRS OF SECURITIZATION TRUSTS                                    ARE      MANAGED
       BY TRUSTEES AND CARRIED OUT BY SERVICERS.

       In broad terms, securitization is the pooling of assets entitled to receive regular cash

flows—such as mortgages, lease payments, movie royalties, credit card receivables, or, as in this

case, student loans—into one legal entity (i.e., a trust). The trust then issues securities to

investors, the interest and principal payments on which are funded by the cash flows accruing to

the assets in the trust. A robust and liquid securitization market provides many benefits to the

economy, including facilitating efficient access to capital markets, minimizing issuer-specific

limitations on the ability to raise capital, monetizing illiquid assets, diversifying funding sources,

investor bases and transaction structures, and lowering interest rates for borrowers

       After a securitization transaction closes, oversight and management of the trust and its

assets are performed by the trustees and servicers, respectively. Based upon the structure of the

transaction, generally, the trustee represents the investors’ and trust’s respective interests and/or

performs certain administrative tasks in the interest of the trusts and/or the investors, as

specifically enumerated in the applicable trust agreements. In contrast to trustees, servicers are

responsible for interacting and communicating with borrowers, managing their accounts,

collecting and processing loan payments, and remitting these payments for distribution to the

investors.   Servicers are also responsible for handling delinquent and defaulted loans.

Delinquencies and defaults are of particular concern because they reduce the funds ultimately

available to investors, and servicers often engage legal counsel and other professionals to pursue

collections against borrowers that fail to pay. In most cases, the servicer or the sponsor retains

the services of a special servicer, and/or a subservicer or subservicers, to interact and

communicate with borrowers and address delinquent and defaulted loans.




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          Critically, the rights, obligations and roles of all the parties involved in both the

origination and management of a securitization are governed by various written agreements

between the transaction participants, including (and depending on the nature of the underlying

securities) master loan purchase agreements, trust agreements, administration agreements,

servicing agreements, and/or pooling and servicing agreements. These contracts reflect the

understandings and expectations of the participants, including the trustees and servicers, as well

as their agreement on how responsibility and risk will be allocated.

III.      CONGRESS CAREFULLY PROSCRIBED THE SUPERVISORY AND
          ENFORCEMENT AUTHORITY OF THE BUREAU TO COVERED PERSONS
          WHO HAVE VIOLATED A FEDERAL CONSUMER FINANCIAL LAW.

          Congress enacted the Dodd-Frank Act in the wake of the financial crisis that began in or

around 2008.9 Title X of the Dodd-Frank Act—the CFPA—established the Bureau to “regulate

the offering and provision of consumer financial products or services under the Federal

consumer financial laws,”10 and “to implement and … enforce Federal consumer financial

law.”11 According to the Dodd-Frank Act, the purpose of the Bureau is to:

                 enforce Federal consumer financial law consistently for the
                 purpose of ensuring that all consumers have access to markets for
                 consumer financial products and services and that markets for
                 consumer financial products and services are fair, transparent, and
                 competitive.12

The Dodd-Frank Act also sets out five specific agency objectives to advance the interests of both

consumers and responsible financial services providers by:

                        providing consumers with timely and understandable information to assist
                         them in making responsible decisions about financial transactions;

9
    See, e.g., State Nat’l Bank of Big Spring v. Lew, 795 F.3d 48, 51 (D.C. Cir. 2015).
10
     12 U.S.C. § 5491(a).
11
     12 U.S.C. § 5511(a); see also 12 U.S.C. §§ 5492(a), 5511(b)–(c).
12
     12 U.S.C. § 5511(a) (emphasis added).


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                       protecting consumers from unfair, deceptive, or abusive acts and practices
                        and from discrimination;

                       identifying and addressing outdated, unnecessary, or unduly burdensome
                        regulations to reduce unwarranted regulatory burdens;

                       enforcing federal consumer financial law consistently, without regard to
                        the status of a person as a depository institution, to promote fair
                        competition; and

                       promoting the transparent and efficient operation of markets for consumer
                        financial products and services to facilitate access and innovation.13

          The Federal consumer financial law that the Bureau enforces includes the CFPA and

eighteen other “enumerated consumer laws.”14 The CFPA vests the Bureau with rulemaking,

supervisory, investigatory, adjudicatory, and enforcement authority,15 and one of the Bureau’s

“primary functions” is to “supervis[e] covered persons for compliance with [the CFPA and the

eighteen other enumerated consumer laws], and tak[e] appropriate enforcement action to address

violations of” such laws.16 As used in the CFPA, a “covered person” is defined as “any person

that engages in offering or providing a consumer financial product or service.”17 Accordingly,

while the Bureau may bring an enforcement proceeding against a “covered person” with respect

to a violation of either the CFPA or an enumerated consumer law, the Bureau’s enforcement

jurisdiction does not extend past this limited grant of authority by Congress.


13
     12 U.S.C. § 5511(b) (emphasis added).
14
     12 U.S.C. § 5481(12),(14).
15
     12 U.S.C. §§ 5512(b), 5514–5516, 5562–5564.
16
     12 U.S.C. § 5511(c)(4).
17
   12 U.S.C. § 5481(6). Under the Act, a “financial product or service” means “extending credit
and servicing loans, including acquiring or purchasing . . . credit.” 12 U.S.C. § 5481(15)(A)(i).
Here, the Trusts are securitization vehicles which have acquired student loans. There is only a
single conclusory allegation that the Trusts are extending credit, servicing loans or acquiring
credit, which is contradicted by other allegations that the Trusts have no employees. Compl. at
4; Decl. of Rebecca L. Butcher in Support of GSS Data Services, Inc.’s Mot. to Intervene, D.I.
13, Ex. A. at 9.


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          The Bureau also has specifically defined litigation authority under the CFPA, and may

bring a civil action against “any person [who] violates a Federal consumer financial law.”18   A

person cannot “violate” a Federal consumer financial law unless that person is subject to the

restrictions of the Federal consumer financial laws in the first instance.

IV.       THE   BUREAU   HAS   MISTAKENLY    TREATED                         THE       TRUSTS
          AS COVERED PERSONS AND DEBT COLLECTORS.

          The present action arises from the Bureau’s enforcement of practices falling under the

FDCPA, which is the primary federal statute governing debt collection for personal, family or

household purposes, and is one of the eighteen enumerated consumer laws falling within the

enforcement jurisdiction of the Bureau.19 Generally, the FDCPA places certain procedural

obligations on debt collectors, prohibiting them from engaging in harassment or abuse, false or

misleading representations and unfair practices.20

          On September 18, 2017, the Bureau filed a Complaint and the Proposed Consent

Judgment with this Court. The Complaint alleges that the Trusts own hundreds of thousands of

private student loans, acquired between 2001 and 2007, and securitized those loans by issuing

notes that were marketed and sold to investors.          Subsequently, employees of the Trusts’

subservicer, acting on behalf of the special servicer for the notes, completed, signed, and

notarized sworn legal documents for various collections lawsuits brought on behalf of the




18
     12 U.S.C. § 5564(a).
19
     12 U.S.C. § 5481(12)(H).
20
   Subpart C of the CFPA prohibits any covered person from engaging in “unfair, deceptive, or
abusive acts or practices” (commonly abbreviated as “UDAAP”) in connection with consumer
financial products or services. 12 U.S.C. § 5531; see also id. § 5536(a)(1)(B). The Act gives the
Bureau authority to prevent UDAAP applicable to consumer financial products or services,
including consumer loans and debt collection activities. 12 U.S.C. § 5481(5), (15).


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Trusts.21 Critically, the Complaint alleges that the Trusts have no employees and also concedes

that the Trusts’ subservicers—and not the Trusts—carry out “all actions relating to the

administration of the Trusts, servicing of the student loans, and collecting debt.”22 This is

invariably true, as the relevant agreements confirm and as is typical for securitization

transactions. Nonetheless, the Complaint and the Proposed Consent Judgment allege that the

Trusts violated the Act23 by virtue of the subservicers’ employees filing false affidavits in which

the affiants claimed personal knowledge of the student loan debt that such affiants did not in fact

have, for pursuing collections lawsuits without the necessary documentation required to sue, for

filing suit after the applicable statutes of limitations had expired, and for submitting improperly

notarized affidavits that were not sworn or signed in the presence of the notary because the

subservicers acted as agents for the Trusts.24 The Complaint characterizes the Trusts as “covered

persons” and alleges that they engaged in “servicing loans, including acquiring, purchasing

selling or brokering” and “in the collection of debt.”25

          The Proposed Consent Judgment appears to have been negotiated without the

involvement of any of the other parties to the securitization transaction including the Trusts, the

Noteholders, the Indenture Trustee, etc., all of whom would be materially adversely impacted by

the entry of the Proposed Consent Judgment because their contractual rights and obligations

would be upset thereby.26        Not surprisingly, since the Complaint and Proposed Consent

Judgment were filed, U.S. Bank National Association, the Objecting Noteholders, Transworld,

21
     Compl. ¶ 19.
22
     Compl. ¶ 12.
23
     Id. ¶¶ 43-51.
24
     Id. ¶ 19; Proposed Consent J. ¶ 4.
25
     Compl. ¶ 8.
26
     D.I. 4, 9, 12.


                                                 10
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Ambac, GSS, WTC, and PHEAA have all filed motions seeking to intervene in this action.27

The Intervenors raise a variety of arguments, including that the Proposed Consent Judgment

would impermissibly alter their contractual rights and obligations.

          The Bureau has the mandate to supervise or use enforcement action against a “covered

person.”28 There is no reason to believe it was the intent of Congress to extend the Bureau’s

authority under the CFPA to securitization vehicles and other debt owners, such as the Trusts,

which have no supervisory authority over the allegedly unlawful actions of the servicers, which

are independent of and not affiliated with the Trusts. In keeping with the purpose of the CFPA,

the term “covered person” should be limited to entities, whether or not owners of debt, that, by

virtue of their business activities, are in a position to perpetrate unfair, deceptive or abusive

practices—meaning persons that actually engage in offering or providing a consumer financial

product or service or are materially involved in or have managerial responsibility for those

actors.

          The Bureau has the authority under the CFPA to take action to prevent conduct

constituting unfair, deceptive or abusive acts or practices (“UDAAP”).29 Notably, the Bureau

issued guidance in July 2013 regarding UDAAP with respect to debt collection, and stated that

only “[o]riginal creditors and other covered persons involved in collecting debt related to any

consumer financial product or service are subject to the prohibitions against UDAAP in the

Dodd-Frank Act.”30 This statement affirms that subsequent holders, like the Trusts, are not

intended to be within the Bureau’s debt collection UDAAP authority. Additionally, in Henson v.


27
     D.I. 33, 11, 9, 4, 12, 31, 20.
28
     12 U.S.C. § 5481(6).
29
     12 U.S.C. § 5531.
30
     CFPB Bull. 2013-07 (July 10, 2013) (emphasis added).


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Santander Consumer USA Inc., the Supreme Court determined the reach of the FDCPA and

clearly stated that it applies only to debt collectors, not debt holders, and that debt holders cannot

be held vicariously liable for the actions of debt collectors.31 The Bureau cannot now, using its

UDAAP authority, assert that debt holders are nonetheless liable in direct contradiction of the

Supreme Court. This litigation is nothing more than an attempt to circumvent the Supreme

Court’s interpretation.

         The litigation authority of the Bureau extends only to those persons who have violated

the CFPA or an enumerated consumer law. The only enumerated consumer law cited by the

Bureau in the Complaint and the Proposed Consent Order is the Act itself, even though the

underlying acts arise from activities related to debt collection.32 This is a careful omission that

obscures the fact that the Bureau is trying to extend the reach of the FDCPA by claiming that

practices proscribed by the FDCPA are “unfair, deceptive or abusive,” and then using its

authority under the CFPA rather than the FDCPA to bring an enforcement action against persons

not otherwise subject to the FDCPA. Even assuming the correctness of this position, for an act

to constitute UDAAP under the CFPA on the grounds that it violates the FDCPA, an act must be

committed that violates the FDCPA in the first place, and the Trusts have committed no such

acts.

         “Debt collectors”33 are defined by the FDCPA as any person engaged in interstate

commerce and in any business the principal purpose of which is the collection of debts, or that

regularly collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be



31
     Henson v. Santander Consumer USA Inc., 137 S. Ct. 1718, 1724 (June 2017).
32
     Compl. at 10.
33
  See, e.g., Pollice v. National Tax Funding, L.P., 225 F.3d 379, 403 (3d Cir. 2000) (“The
FDCPA’s provisions generally apply only to ‘debt collectors.’”).


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owed or due another.34 Accordingly, the Trusts must be found to be debt collectors before they

become liable under the statute, and that is impossible, because the Trusts are the owners of the

debt (i.e., the underlying student loans), not “debt collectors.” It has been long held that persons

who acquire debt not in default at the time of acquisition cannot be debt collectors,35 and more

recently it has been determined that even those persons acquiring defaulted debt are not “debt

collectors” within the meaning of the FDCPA. In Henson v. Santander Consumer USA Inc.,36

the Supreme Court addressed the issue of whether purchasers of defaulted debt should be treated

as debt collectors under the FDCPA. The Court ruled that companies that buy and own debts in

default cannot be debt collectors, as that definition requires them to collect debts owed to

another. In Henson, the Court examined whether one who purchases a debt originated by another

could be treated as a debt collector when seeking to collect on those debts for its own account.

The Court examined the language of the statute, presumed that the “legislature says…what it

means and means…what it says,” and held that Congress plainly meant the term to “debt

collector” to apply to those who seek to collect on a debt on behalf of another.37 Thus, owners of

debt – whether or not in default at the time of acquisition – cannot be debt collectors as defined

by the FDCPA.

          Even if the Trusts directed the subservicer’s debt collection activities – which plainly

was not the case – the FDCPA provides that only an entity which itself meets the definition of


34
    15 U.S.C. 1692(a)(6); see also id. § 1692(a)(6)(F) (excluding any person collecting or
attempting to collect any debt owed if the debt was not in default at the time it was obtained by
such person).
35
   See Pollice, 225 F. d at 404 (citing Bailey v. Sec. Nat’l Servicing Corp., 154 F.3d 384, 387-88
(7th Cir. 1988)); Whitaker v. Ameritech Corp., 129 F.3d 952, 958-59 (7th Cir. 1977); Wadlington
v. Credit Acceptance Corp., 76 F. 3d 103, 106-07 (6th Cir. 1996).
36
     137 S. Ct. 1718 (June 2017).
37
     Id. at 1725.


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“debt collector” may be held vicariously liable for unlawful collection activities carried out by

another on that person’s behalf.38     The legislative history of the FDCPA also shows that

Congress intended to target third-party or independent collectors of delinquent debts (such as the

servicers), because unlike creditors, whose actions are often restrained by their desire to protect

good will, independent contractors will generally have no future contact with the consumer and

are therefore likely to place less importance on the consumer’s opinion of the debt collection

tactics.39

V.      THE BUREAU’S TREATMENT OF THE TRUSTS IN THE PROPOSED
        CONSENT ORDER WOULD DESTABILIZE MARKET EXPECTATIONS.

        Permitting the Bureau to treat the Trusts as covered persons, and exercise its litigation

authority against them on that basis, will upend the reasonable and contractually documented

expectations of market participants. An efficient and effectively functioning securitization

market requires that the respective roles and responsibilities of each participant in a transaction

are certain from the beginning. In every securitization, the duties of each participant are defined

in the various trust, administration and servicing agreements. These documents are drafted with

the expectation that each party to the agreement is aware of its own duties and responsibilities

and can predict with a significant degree of certainty what other parties to the transaction will or

might do. These documents also impose specific duties and obligations on trustees and as a

general matter forbid the trustee from taking any actions that are contrary to law or the governing

documents. Further, the securitization industry has operated for years on the premise that the

38
  See Pollice, 225 F.3d at 404 (agreeing with sister Circuits that holding a company that is not a
debt collector itself liable under the FDCPA for the unlawful collections activities carried out by
another on its behalf would not accord with Congressional intent.)
39
  Mondonedo v. Sallie Mae, Inc., No. 07-4059-JAR, 2009 WL 801784, (D. Kan. Mar. 25, 2009)
(considering the Congressional rationale for placing limitations on the definition of “debt
collector” and discussing the limited future contact with the consumer that independent
contractors have when collecting a debt)


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agreements governing the transactions provide that transaction parties are responsible for their

own bad behavior and, barring special factual circumstances, will be not accountable for the

malfeasance of other parties to the transaction. The certainty of contract terms underlies the

success of the structured finance industry, and disturbing that certainty by re-writing contracts

without the consent of the parties will needlessly violate the expectations of market participants

be and destructive to the market.

          A critical public policy imperative, reflected in the Trust Indenture Act of 1939 (the

“TIA”), is that the issuers must comply with the indentures under which they issue debt

securities to the public.          Issuer adherence to the obligations imposed by indentures is of

paramount importance to market participants. If issuers were free to discard indenture provisions

they find inconvenient the capital markets would freeze up and imperil the national economy.

          There can be no doubt that the Trusts here propose to discard the most fundamental

provisions of the relevant indentures. The Granting Clause in the Trusts’ indentures convey to

the Indenture Trustee all of the Trusts’ assets as collateral security for their debt obligations.

The Trust may “not sell, transfer, exchange or otherwise dispose of any portion of the Indenture

Trust Estate except as expressly permitted by this Indenture.”40 The Trust is forbidden, “directly

or indirectly, [to] make payments to or distributions from the Collection Account except in

accordance with this Indenture and the other Basic Documents.”41 The Trust may not permit the

lien of the Indenture to be trumped, defeated or evaded.42 On the contrary, the Issuer is under an

obligation to take any:




40
     E.g., NCSLT 2007-3 Indenture § 3.23(m).
41
     Id. § 3.17.
42
     Id. §§ 308(iii), § 3.23(o).


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                      action necessary or advisable to … (i) maintain or preserve the lien
                      and security interest (and the priority thereof) of [the] Indenture …
                      (ii) … protect the validity of any Grant … made by [the] Indenture;
                      … [and] (iv) preserve and defend title to the Indenture Trust Estate
                      and the rights of the Indenture Trustee, and the holders of the
                      Notes and Ambac in such Indenture Trust Estate against the claims
                      of all persons and parties.43

            Except as provided in the Indenture, the Indenture Trustee may not “release property

from the lien of [the] Indenture” without “an Issuer Order, an Opinion of Counsel [which would

have to confirm that such release is permitted or authorized under the Indenture] and independent

certificates in accordance with TIA Sections 314(c) and 314(d)(1) or an Opinion of Counsel in

lieu of such independent certificates to the effect that the TIA does not require any such

independent certificates.”44 Without direction from the relevant secured parties, the Trust may

not dispose of any of its property in any manner not contemplated by the Indenture or the Basic

Documents.45

          The Proposed Consent Judgment violates all of these principles. Paragraphs 17 and 18

divert all Trust revenue to a fund controlled by the Trusts’ equity investors. The proposal to use

trust assets to pay fines is impermissible. All of that money is pledged. The indentures make

clear that trust assets are not available to pay for the sins of servicers.

          A ruling that the Trusts’ present operators may enter into the Proposed Consent Judgment

would signal to the investing public that indentures are no longer binding, notwithstanding the

Trust Indenture Act. In the short run, this would be contrary to the interest of SFIG’s members,

and before long it would be profoundly detrimental to the capital markets and would most likely

deal a body blow to the national economy.


43
     Id. § 3.05.
44
     Id. § 3.14.
45
     Id. § 3.08(i).


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          Additionally, the Proposed Consent Judgment, if endorsed by the Court, would allow the

Bureau to displace the contractual rights and obligations of the parties who negotiated the

agreements governing the securitization transactions at issue, and substitute in their place new

duties of the Bureau’s choosing. Specifically, the Proposed Consent Judgment would result in

the imposition of obligations upon the Trusts not consented to by the parties either now or when

they entered into this series of agreements. The Trusts would be tasked with direct supervision

of third party contractors, disturbing the obligations of other parties.46        For example, the

Proposed Consent Judgment calls for the Trusts to set up an account to collect money from the

servicer before sending funds to the Collection Account for distribution to noteholders. There is

no representation in the Proposed Consent Judgment that the Trusts are empowered to take this

action, or that this action would not violate the transaction agreements, including the Indenture or

the Trust Agreement. As the Bureau concedes, the Trusts themselves are passive and have no

employees.47        The Trusts thus are not in a position to rectify violations of, or promote

compliance with, the consumer protection laws. Instead, the Trusts are dependent on the terms

of the relevant agreements, which include requirements for trustees and servicers—not the Trusts

themselves—to perform the relevant services in compliance with law and the various transaction

documents.48

          Moreover, the endorsement of the Proposed Consent Judgment would allow a single

investor—in this case, an alleged beneficial owner whose interests may not even be aligned with

the interests of the trust as a whole—to override the authority and decision-making

responsibilities of the trustees and direct the actions of the Trusts. This would deprive all parties


46
     Mot. to Approve Consent J., D.I. 3.
47
     Compl. ¶ 12.
48
     D.I. 13, Ex. A at 10, 22; D.I. 13, Ex. B.


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to the transaction of the protections the role of the trustee provides.49 Critically, there is no

authority for the notion that a residual holder is permitted to direct and bind the Trusts. It is a

universal and contractually established market expectation, shared by SFIG’s members as well as

the industry at large, that trusts like the Trusts at issue here can only act through a trustee that is

duty-bound to act according to the agreements governing the transaction.

       The Proposed Consent Judgment further poses a risk to securitization investors. These

investors expect to take the risk of delinquencies and defaults in the performance of trust assets.

Substantial steps are taken in the syndication and marketing process to assure investors of the

quality of the assets, including extensive disclosure requirements, third party diligence reviews

and, more recently, risk retention. The risk of delinquency and default is analyzed in great

detail. Imposing on investors the additional and unquantifiable risk of substantial liability of the

trusts, for actions which neither investors nor the trustee could promote or advocate, and which

they could not in any way conduct, control or predict, would be highly destructive to the

securitization market. Allowing the Bureau to overextend its enforcement authority, as it is

attempting to do in this case, by choosing its own definition of “covered person” would frustrate

legislative intent and legitimate contractual rights. Congress has already given the Bureau the

powers it felt were necessary to carry out its legislative mandate. The Bureau’s attempts to

expand its enforcement and supervisory jurisdiction should not go unchecked.




49
   As just one example, Ambac, the insurer of the notes, faces the risk of an unforeseeably large
insurance payout due to the fallout from the Proposed Consent Judgment that it could not price in
to the transaction at its inception. D.I. 4 at 5.


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                                       CONCLUSION

       For the reasons set forth above, SFIG respectfully requests that this Court grant its

Motion for Leave to File a Brief as an Amicus Curiae.


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